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March 16, 2017
VIA FIRST CLASS MAIL AND
ECF

Hon. Madeline Cox Arleo

United States District Judge for the District of New Jersey
Martin Luther King Building & U.S. Courthouse

50 Walnut Street

Newark, NI O7101

Re: U.S, v. Jason Li, a/k/a “Jason Liu,” “Li Liu,” and “Fen Li”
index No. 16-6041 (SCM), United States District Court, District of New Jersey

Dear Judge Arleo:

The above referenced case is continued through April 4, 2017 according to the
Continuance Order dated January 30, 2017. The defendant, Mr. Li, has entered a plea agreement
with the Government on January 19, 2017 and appeared for the Rule 11 hearing before the Court

on March 13, 2017.

We are writing to request a permission for Mr. Li to travel to China to visit his father in
Chengdu from March 29, 2017 and to return to New York City on May 7, 2017. This visit is very
critical to Mr. Li since his father, Mr. Peisheng Liu, is under a serious illness condition which
may further deteriorate and occur with life-threatening complications. Enclosed please find the
documents we filed on October 13, 2016 (document #17) including the Notice from the hospital,

and Mr. Li’s birth certificate for your reference.

We have conveyed the same to the Government via e-mail and attorney fetter on March
16, 2017 and the Government stated that it will not object to this request. We further propose the
modifications to the conditions of release listed in the Order Modifying Conditions of Release

filed on September 29, 2016 Order”, document #15) as follows:

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1. The Order be and is hereby modified to permit Mr. Li to travel to China to visit his
family from March 29, 2017 and to return to New York City on May 7, 2017.

2. Pretrial Services Supervision shall be suspended during the period above and shall be
resumed at the time when Mr. Li returns to New York City.

3. Pretrial Services is directed to release Mr. Li’s passport and related travel documents for
the purpose of this trip. Said passport and related travel documents are to be re-surrendered to
Pretrial Services within thirty-six (36) hours of Mr. Li’s return to New York City.

4. The provision of the $50,000 unsecured appearance bond in the aforesaid Order remains

in effect.

Mr. Li has been very cooperative during this action and thus we are certain that Mr. Li
will be back to proceed with the sentencing procedure after the time granted. In the meantime,

we will keep cooperating with the Government as well as the Court concerning this action.

Thank you in advance for your consideration.

Very truly yours,
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Kevin K. Tung

C.C.:

Dennis C. Carletta

Assistant U.S. Attorney
National Security Unit

United States Attorney's Office
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